              Case 2:16-cr-20013-PKH Document 56                          Filed 10/31/16 Page 1 of 6 PageID #: 211
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                        Western District of Arkansas
                                                                         )
              UNITED STATES OF AMERICA                                   )        JUDGMENT IN A CRIMINAL CASE
                                  v.                                     )
                                                                         )
                  CHE RAFFAEL TIDWELL                                             Case Number:           2:16CR20013-001
                                                                         )
                                                                         )        USM Number:            14239-010
                                                                         )
                                                                         )        Joseph Self
                                                                         )        Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Four (4) of the Indictment on June 2, 2016.

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended              Count
21 U.S.C. § 841(a)(1)             Aiding and Abetting the Distribution of Methamphetamine                   01/21/2016                  4
& 18 U.S.C. § 2




The defendant is sentenced as provided in pages 2 through         6    of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Counts One (1), Two (2), and Three (3) are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or mailing
address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        October 27, 2016
                                                                        Date of Imposition of Judgment


                                                                        /s/ P.K. Holmes, III
                                                                        Signature of Judge




                                                                        Honorable P.K. Holmes, III, Chief United States District Judge
                                                                        Name and Title of Judge


                                                                        October 31, 2016
                                                                        Date
               Case
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                     Judgment  in Criminal Case    Document 56               Filed 10/31/16 Page 2 of 6 PageID #: 212
                       Sheet 2 — Imprisonment
                                                                                                    Judgment — Page     2       of   6
DEFENDANT:                  CHE RAFFAEL TIDWELL
CASE NUMBER:                2:16CR20013-001

                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:     sixty (60) months.




    X   The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be placed at a facility where he can receive substance abuse treatment.




    X   The defendant is remanded to the custody of the United States Marshal.

    G   The defendant shall surrender to the United States Marshal for this district:
        G    at                                 G a.m.       G p.m.           on                                            .
        G    as notified by the United States Marshal.

    G   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        G    before 2 p.m. on                                            .
        G    as notified by the United States Marshal.
        G    as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                          to

a                                                 , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL
               Case
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                     Judgment in a Criminal Case       Document 56           Filed 10/31/16 Page 3 of 6 PageID #: 213
                      Sheet 3 — Supervised Release
                                                                                                            Judgment—Page       3    of        6
DEFENDANT:                    CHE RAFFAEL TIDWELL
CASE NUMBER:                  2:16CR20013-001
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :             three (3) years.




The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
G        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant’s compliance with such notification requirement.
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              10/15) Judgment in a Criminal Case   Document 56          Filed 10/31/16 Page 4 of 6 PageID #: 214
        Sheet 3C — Supervised Release
                                                                                                      Judgment—Page      4     of        6
DEFENDANT:                CHE RAFFAEL TIDWELL
CASE NUMBER:              2:16CR20013-001

                                      SPECIAL CONDITIONS OF SUPERVISION


1. The defendant shall submit to a search of his person, real and/or personal property, residence, place of business or employment, and/or
vehicle(s) conducted by the U.S. Probation Office based upon reasonable suspicion of criminal activity or a violation of any condition of
supervised release.
2. The defendant shall submit to inpatient or outpatient substance abuse testing, evaluation, counseling, and/or treatment, as deemed necessary
and as directed by the U.S. Probation Office.
               Case
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         Sheet 5 — Criminal Monetary Penalties
                                                                                                          Judgment — Page    5      of        6
DEFENDANT:                       CHE RAFFAEL TIDWELL
CASE NUMBER:                     2:16CR20013-001
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                         Fine                                    Restitution
TOTALS            $ 100.00                                           $ -0-                                   $ -0-


G    The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before
     the United States is paid.

Name of Payee                                 Total Loss*                          Restitution Ordered                      Priority or Percentage




TOTALS                            $                                          $


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G    the interest requirement is waived for the       G   fine     G       restitution.

      G    the interest requirement for the      G   fine       G   restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
               Case
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        Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page       6     of            6
DEFENDANT:                 CHE RAFFAEL TIDWELL
CASE NUMBER:               2:16CR20013-001

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X    Lump sum payment of $         100.00                due immediately.

           G    not later than                                      , or
           G    in accordance with G        C,    G     D,     G      E, or     G F below; or

B     G    Payment to begin immediately (may be combined with                 G C,        G D, or       G F below); or

C     G    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                              over a period of
                          (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

D     G    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     G    Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     G    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G     The defendant shall pay the cost of prosecution.

G     The defendant shall pay the following court cost(s):

X     The defendant shall forfeit the defendant’s interest in the following property to the United States:
      A money judgment in the amount of $2,600, joint and several with the co-defendant, Jill Allison Bradley.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
